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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


                                                     )
    BRYAN MESSENGER,                                 )
                                                     )
            Plaintiff,                               )
                                                     )    Caie No. 3:17-cv-03755-FLW-DEA
            V.                                       )
                                                     )
    NATIONAL BOARD OF MEDICAL                        )
    EXAMINERS,                                       )
                                                     )
            Defendant.                               )
                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

            Pursuant to Fed. R. Civ. P. 41(aXIXA)(ii), plaintiff Bryan Messenger and defendant

    National Board of Medical Examiners, by and through their attorneys, hereby stipulate to the

    dismissal of plaintiff’s Complaint and all claims asserted therein, with prejudice, each side to

    bear its own costs and expenses except as otherwise agreed upon by the parties.

            SO STIPULATED this       —   day of November, 2017:


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                                                         Counsel for Defendant
    Counsel for Plaintiff

                         It is further ordered that the Clerk of the Court
                         is directed to reopen this action and upon entry
                         of this order, the case and docket shall be marked closed.
                         IT IS $0 ORDERED:


                         FREDA L. WOLF SON, L$.D.J. t a- t -t 1
